                                         Case 3:21-cv-00918-BAS-DEB Document 36-4 Filed 08/02/21 PageID.514 Page 1 of 4



                                          1    Dolores Contreras, Esq. SBN 257230
                                               dc@contreraslawfirm.com
                                          2
                                               Andrew Stilwell, Esq. SBN 229469
                                          3    as@contreraslawfirm.com
                                               CONTRERAS LAW FIRM
                                          4
                                               402 West Broadway, Suite 1200
                                          5    San Diego, CA 92101
                                               Tel (619) 238-0616
                                          6
                                               Fax: (619) 342-3166
                                          7
                                               Attorneys for Defendants,
                                          8          MARTHA THOMPSON, JENNA
                                          9          BULIS, CHELSEA PAPCIAK, and
                                                     BREAKINGCODESILENCE, INC.
                                         10
                                         11                      UNITED STATES DISTRICT COURT

                                         12              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
           SAN DIEGO, CALIFORNIA 92101
           402 W. BROADWAY, STE. 1200
CONTRERAS LAW




                                         13
                  (619) 238-0616




                                         14                                         Case No.: 21-cv-0918-BAS (DEB)
                                               BREAKING CODE SILENCE, a
                                         15    California   Public Benefit          DECLARATION OF JOSH
                                         16    Corporation,                         SCARPUZZI IN SUPPORT OF
                                                                                    DEFENDANT S' MOTION TO
                                         17                          Plaintiff,     DISMISS PURSUANT TO FRCP
                                         18                                         12(b)(6) AND MOTION TO STRIKE
                                               vs.                                  PURSUANT TO FRCP 12(f)
                                         19
                                         20    CHELSEA PAPCIAK aka FILER, an
                                                                                    Date:     September 13, 2021
                                               individual, JENNIFER WALKER, an
                                         21                                         Dept.:    4B
                                               individual, JENNA BULIS, an
                                                                                    Judge:    Hon. Cynthia A. Bashant
                                         22    individual, MARTHA THOMPSON,
                                               an           individual,   and
                                         23    BREAKINGCODESILENCE, INC.,
                                         24    a Florida corporation

                                         25                          Defendants.
                                         26
                                         27
                                              ///
                                         28
                                                                              1
                                                                 DECLARATION OF JOSH SCARPUZZI
                                         Case 3:21-cv-00918-BAS-DEB Document 36-4 Filed 08/02/21 PageID.515 Page 2 of 4



                                          1         I, JOSH SCARPUZZI, hereby declares the following:
                                          2         1.     I have personal knowledge of the matters I have declared herein, and If
                                          3   called to testify I would do so in the same manner.
                                          4         2.     I am a survivor of abuse by teen programs and boarding schools, and as
                                          5   a survivor I have a long history of involvement with the survivor community. I do
                                          6   writing, blogging, social media posting, and speaking engagements having to do with
                                          7   the survivor community, but I did it all as TTI, and never as BREAKING CODE
                                          8   SILENCE, prior to December 22, 2018.
                                          9         3.     The material attached herein is a true an correct copy of a post that I
                                         10   personally drafted and uploaded to Facebook on July 8, 2021, and the statements
                                         11   made in that post are true, correct, and accurate.
                                         12         I declare this is true and correct under penalty of perjury under the laws of the
           SAN DIEGO, CALIFORNIA 92101
           402 W. BROADWAY, STE. 1200
CONTRERAS LAW




                                         13   State of California.
                  (619) 238-0616




                                         14                                              CONTRERAS LAW FIRM
                                         15
                                         16
                                               Date: July 27, 2021              By:   Josh    -    i (Jul 27, 202121:06 EDT)

                                         17                                              Josh Scarapuzzi, Declarant
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                                                                     DECLARATION OF JOSH SCARPUZZI
    X    +                          Case 3:21-cv-00918-BAS-DEB Document 36-4 Filed 08/02/21 PageID.516 Page 3 of 4
om/groups/653206225177431                                                         EXHIBIT A
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                                                                                                                                       ~
                                                                                                                                                                                 Jenna



                             TTI Advocates
                                                                                                                                         iii:Mii          Q
                             Josh Scarpuzzi                                                                      and what they post.
                                                                                                •••
                               -, · 1h · 8
                                                                                                            @    Visible
                     Statement of Fact                                                                           Anyone can find this group.
                     July 08, 2021
                     Hello BCS Community, Lawyers, and Leadership,                                          ::.-.. General

                     In 2007-2008 while at Spring Creek I wrote a collection of poetry that
                     was titled "The thoughts of a caged bird." This collection was never
                     intended to be a part of my book and was written independently.
                                                                                                             Rooms
                     On October 12th, 201 O I spoke at a Mathew Sheapherd Memorial
                     event in Sa n Diego California. At this event I spoke about my struggle
                     with suicide, and my time at Spring Creek. At this point in time I had
                     began writing my book with no title, it was meant to be a journal at
                     first.
                     From 2010-2018 1 had worked at a number of sma ll events that talked
                     about troubled teen issues and suicide awa reness but always acted on                                                      i   (1:., -
                     behalf of myself and was not promoting, engaging, or in any way
                     mentioning the BCS mark. I continued working on my book                                  Get the Group Together on Video
                     independently.                                                                                        Chat
                     Around 2017 I settled on the t itle Breaking Code Silence for my book                   Create a room to instantly connect to other
                     and began emailing editors and publishers. Book titles are not able to                            members on video chat.
                     be trademarked and as such I never tradema rked my book, only a
                     general copyright that applies to any intellectual written property.                                             Create Room
                     When I was first approached by Vanessa Hughes with the new BCS
                     organization, I was told by them that they believed I had the exclusive
                     rights to the BCS mark and they wanted to secu re that from me. They
                                                                                                             Recent media
                     impl ied that what their trademark lawyer told them was that any work


                                                                                                                             ~~ 1                   I
                     I did arou nd the TTl(speaking about suicide, my poetry, my book) wa s
                     entirely connected and legal ly constituted first use rights under                                 I'   ,...,,
                     trademark law. 1 have now learned that this is false. I had questioned                            ~Pf!
1206225 177431/user/100002575406930/? _ cft_[O] =AZUujZELkvKeD518flq KPfQHwAEUHt561Xiu lyTdbN7 q Hi31DBZDH-Z9CsHJja lvGmrzu_R-5fAQqOIA5bDHq IByFld 1ewmtEOxbSYJhk0pEVudSUn-EWQancYfL-od PbtH-

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om/groups/653206225177431                                                                                                         EXHIBIT A


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                             TTI Advocates
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                     organiza ti o n, I wa s told by t hem that t hey believed I had the exclu sive                                                           @    Visible
                     rights to the BCS mark and they wanted to secu re th at from me. They                                                                         Anyone can find thi s group.
                     impl ied that w hat their trademark lawyer told th em was that any work
                     I did arou nd the TTl(speaking about suicide, my poetry, my book) wa s                                                                   :::. General
                     entirely connected and legal ly constituted first use rights under
                     trademark law. I have now learned that th is is fa lse. I had questioned
                     this at the time and was reassu red by both Vanessa and Katie on
                     multi ple occasions that my concerns over the validity and legal ity of
                                                                                                                                                              Rooms
                     this were already cleared by th e lawyers. Despite my concern th ey
                     continued to ensure me that anything I did in the past regard ing TT I
                     counted as part of my "BCS advocacy."
                     For the last few months I have been defending myself as the sole
                     owner and founder of BCS because t hat' s what I wa s told and ensu red
                     by those in power at BCS was legally my right. It was never my
                     intention t o lie or deceive anyon e in the process, I was operating
                     under the information hat w as given to me with the intention tha t I                                                                                                   1\   IY:1-
                     was helping kids.
                                                                                                                                                               Get the Group Together on Video
                     At this time I am taking a st ep back from TTI advocacy as I never asked
                                                                                                                                                                            Chat
                     to brought into the middle of this division and used as a pawn . Please
                     respect my privacy and stop reaching out. To those who are calling                                                                       Create a room to instantly connect to other
                     and harassing me, sending me harassing messages onl ine and via text,                                                                              members on video chat.
                     I'm asking you survivor to survivor, please stop.
                                                                                                                                                                                 Create Room
                     Joshua Scarpuzzi

                       -· ,DO     Lily Speerbrecker, Topher Miller and 10 others                                                                3 Comments

                                                                                                                                                              Recent media
                                          rf:J      Like                                                             CJ       Comment

                                                                                                                                     All Comments •

                              Josh Scarpuzzi                 Ill,
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